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                     EXHIBIT C
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       CHAPTER IX REMEDIES FOR INFRINGEMENT OF RIGHTS


                                Article 123 (Right of Demanding Suspension, etc. of Infringement)


(1)   Any person who holds the copyright or other rights protected under this Act (excluding the rights to be compensated under
      Articles 25, 31, 75, 76, 76-2, 82, 83 and 83-2; hereafter the same shall apply in this Article) may demand of a person
      infringing his/her rights to suspend such act or demand a person likely to infringe on his/her rights to take preventive
      measures or to provide a security for compensation for damages. <Amended by Act No. 9529, Mar 25, 2009>


(2)   If a person who holds the copyright or other rights protected under this Act makes a demand under paragraph (1), he/she
      may demand destruction of the objects made by the act of infringement or other necessary measures.
      [*177]
(3)   In the cases of paragraphs (1) and (2), or in the case where a criminal indictment under this Act has been filed, on request
      of a plaintiff or accuser, the court may, with or without security, issue an order to temporarily suspend the act of
      infringement, or seize the objects made by the act of infringement, or to take other necessary measures.


(4)   With respect to paragraph (3), where a final judicial decision was made that no infringement of copyright and other rights
      protected under this Act has been made, the applicant shall pay compensation for the damages caused by his/her request.


                                        Article 124 (Act Construed as Infringement) [*178]


(1)   Any act falling under any of the following subparagraphs shall be considered to be infringement of copyright or other rights
      protected under this Act: <Amended by Act No. 9625, Apr. 22, 2009>


1.    The importation into the Republic of Korea, for the purpose of distribution therein of goods made by an act which would
      infringe on copyright or other rights protected under this Act, if they were made within the Republic of Korea at the time of
      such importation;


2.    The possession, for the purpose of distribution, of goods produced by an act that constitutes an infringement on copyright or
      other rights protected under this Act (including those imported as referred to in subparagraph 1) with the knowledge of such
      infringement;


3.    Exploitation in business of a copy (including imported goods [*179] pursuant to subparagraph 1) of a program made in
      infringement of copyright of a program by a person who has acquired it with the knowledge of such infringement.


(2)   An act of using a work in a manner prejudicial to the honor or reputation of the author shall be considered to be an
      infringement of his/her moral rights. <Amended by Act No. 10807, Jun. 30, 2011>


                                         (3)   Deleted. <by Act No. 10807, Jun. 30, 2011>


                                                 Article 125 (Claim for Damages)
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(1)   Where the holder of author’s economic right or other rights (excluding author’s moral right and performer’s moral right)
      protected under this Act (hereinafter referred to as “holder of author’s economic right, etc.”) claims compensation against a
      person who has infringed on his/her rights intentionally or by negligence for damages sustained from the relevant [*180]
      infringement, if the infringing person has gained any profit by his/her infringement, the relevant amount of profit shall be
      presumed to be the amount of damages sustained by the holder of author’s economic right, etc.


(2)   Where the holder of author’s economic right, etc. claims compensation against a person who has infringed on his/her rights
      intentionally or by negligence for damages sustained from the relevant infringement, the amount corresponding to that
      normally gained by an exercise of such rights shall be made as the amount of damages sustained by the holder of author’s
      economic right, etc., and a claim therefor may be made.


(3)   Notwithstanding the provisions of paragraph (2), where the amount of damages sustained by the holder of author’s
      economic right, etc. exceeds the amount under paragraph (2), a claim for such exceeding amount may be made.


(4)   Any person who has infringed on copyright, [*181] exclusive publication right (including cases applied mutatis mutandis
      under Articles 88 and 96), publication right, neighboring right or right of database producer which is registered shall be
      presumed to have been negligent in the relevant infringement. <Amended by Act No. 9625, Apr. 22, 2009; Act No. 11110,
      Dec. 2, 2011>


                                             Article 125-2 (Claim of Statutory Damages)


(1)   A holder of author's economic right, etc. may claim considerable damages within the scope of up to ten million won (50
      million won in cases of intentionally infringing rights for profit) for each work, etc. whose right is infringed in lieu of the
      actual amount of damages or the amount of damages determined pursuant to Article 125 or 126 against a person who
      has infringed on rights intentionally or by negligence before a trial proceedings of the relevant is concluded.


(2)   For the purpose of paragraph (1), compilation works [*182] and derivative works which use two or more works as their
      material shall be deemed a single work.


(3)   In order for the holder of author's economic right, etc. to make a claim pursuant to paragraph (1), relevant works, etc. shall
      be registered pursuant to Articles 53 through 55 (including cases applied mutatis mutandis under Articles 90 and 98)
      before the act of infringement occurs.


(4)   In receipt of a claim under paragraph (1), the court may recognize a considerable amount of damages within the scope
      under paragraph (1) in consideration of the purport of defense and the results of evidence examination.



      [This Article Newly Inserted by Act No. 11110, Dec. 2, 2011]


                                    Article 126 (Acknowledgement of the Amount of Damages)
